          Case 3:14-cr-00238-RS Document 62 Filed 07/08/22 Page 1 of 3




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7    Attorney for Defendant
     MONLETO LAMONT HOLLY
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11                        UNITED STATES DISTRICT COURT
12                FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                              SAN FRANCISCO DIVISION
14
      UNITED STATES OF AMERICA,                    Case No. 3:14-cr-00238-RS-1
15
                   Plaintiff,                      STIPULATION RE:
16                                                 CONTINUANCE
            vs.
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      MONLETO LAMONT HOLLY,
18                                                 Court: Hon. Richard Seeborg
                   Defendant.
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22         This matter is currently set for a hearing on July 12, 2022, at 2:30 p.m.
23   However, on Friday, July 8, 2022, Probation Officer Richard Brown was notified
24   by the Contra Costa County Probation Department that Defendant Holly’s state
25   court hearing has been continued to July 29, 2022.
26         Because the alleged violation of probation relates directly to the state court
27   matter that will now be heard on July 29, 2022, the U.S. Attorney’s Office,
28   Probation, and counsel for Defendant Holly agree it would be most efficient for the


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                                 STIPULATION RE: CONTINUANCE
           Case 3:14-cr-00238-RS Document 62 Filed 07/08/22 Page 2 of 3




1    matter to be continued to a date after July 29, 2022. The parties propose Tuesday,
2    August 9, 2022, but are agreeable to any date that is convenient for the Court.
3
4    Dated: July 8, 2022                          Respectfully submitted,
5                                                 STEPTOE & JOHNSON LLP
6                                                 By: /s/ Jonathan Baum
7                                                 Attorney for Defendant
                                                  MONLETO LAMONT HOLLY
8
9    Dated: July 8, 2022                          /s/ Barbara Joan Valliere
                                                  Assistant United States Attorney
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12
     Dated: July 8, 2022                          /s/ Richard Brown
13                                                U.S. Probation & Pretrial Services
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                                STIPULATION RE: CONTINUANCE
          Case 3:14-cr-00238-RS Document 62 Filed 07/08/22 Page 3 of 3




1                                     ORDER
2          Based on the stipulation of the parties, hearing on this matter is continued to
3    August 9, 2022, at 2:30 p.m.
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5          IT IS SO ORDERED.
6
7    Dated: _______
            July 8, 2022                          ___________________________
8                                                 HON. RICHARD SEEBORG
9                                                 United States District Judge
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                                      ORDER
